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                                                   Leave to file the motion for leave to
                                                      file an amicus brief granted
                                                                July 17, 2020




                                                  The Court notes that this grant of leave
                                                  is only for the Clerk of Court to file this
                                                   motion on the docket. The Court has
                                                      not yet ruled on the merits of the
                                                     motion for leave to file the amicus
                                                                    brief.
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